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 3                               UNITED STATES DISTRICT COURT
 4                                        DISTRICT OF NEVADA
 5                                                  ***
 6    ALAN JOHN FRICKX,                                    Case No. 2:19-cv-00942-JAD-DJA
 7                           Plaintiff,
                                                           ORDER
 8          v.
 9    LUIS MACIA VENEGAS, ET AL.,
10                           Defendants.
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12          This matter is before the Court on Plaintiff Alan John Frickx’s Motion to Extend Time to

13   Serve Complaint (ECF No. 19), filed on October 30, 2020. Plaintiff received the Court’s notice

14   of intent to dismiss pursuant to Fed.R.Civ.P. 4(m) and seeks an extension of time to effectuate

15   service. (ECF No. 16). The Court finds good cause to grant an extension, but as Plaintiff’s

16   request does not specify how long he needs, the Court will limit it to 60 days.

17          IT IS THEREFORE ORDERED that Plaintiff Alan John Frickx’s Motion to Extend Time

18   to Service Complaint (ECF No. 19) is granted with the modification that he is granted a 60 day

19   extension of time to effectuate service.

20          DATED: November 2, 2020.

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                                                          DANIEL J. ALBREGTS
22                                                        UNITED STATES MAGISTRATE JUDGE

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